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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 19-62458-CIV-MORENO

GREAT WHITE FLEET LTD,

Plaintiff,

Vs.

M/V WARNOW WHALE, her engines, tackle,
etc., inrem, and PRINCESIA SHIPPING
COMPANY LIMITED, in personam,

Defendants.
/

 

FINAL ORDER OF DISMISSAL AND
ORDER DENYING ALL PENDING MOTIONS AS MOOT

THIS CAUSE came before the Court upon the Plaintiff's Notice of Voluntary Dismissal
(D.E. 16), filed on October 17, 2019.

THE COURT has considered the notice and the pertinent portions of the record, and is
otherwise fully advised in the premises. It is

ADJUDGED that this Cause is DISMISSED WITHOUT PREJUDICE, with each
party bearing its own fees and costs. Fed. R. Civ. P. 41(a)(1)(A)Gi). Furthermore, all pending
motions are DENIED AS MOOT with leave to renew if appropriate.

DONE AND ORDERED in Chambers at Miami, Florida, this f } of October 2019.

LL SeL 4.

for’ :

FEDERICO A. MORENO

UNITED STATES DISTRICT JUDGE
Copies furnished to:

Counsel of Record

 

 

 

 

 

 
